This is a proceeding in error in which it is sought to reverse the judgment of the municipal court of Akron, rendered in a replevin suit brought by plaintiff, Emma Livengood, to recover the possession of a pet cat from the defendant, Mrs. Neal Markusson. The trial court determined that the owner of a pet cat does not have a property right therein so as to entitle him to recover the possession of the cat by replevin proceedings; and the only question submitted to us for consideration is *Page 184 
whether or not the trial court was right in that conclusion.
The authorities generally support the proposition that at common law the owner of a domesticated cat or dog had such a property right therein as entitled him to maintain a civil action for the wrongful taking, killing, or injuring of the same.
In the case of State v. Lymus, 26 Ohio St. 400, 20 Am. Rep., 772, it was decided that a dog was not the subject of larceny, but it was therein recognized that the right of property in dogs was protected by civil remedies at common law. And in a recent case, to wit, Hill v. Micham, 116 Ohio St. 549, 157 N.E. 13, it was held that the statutes of Ohio in reference to the registration and listing of dogs for taxation do not create a right of property therein, but that, "apart from statutoryprovisions, it is generally held that an injury to or wrongful killing of a dog is such an invasion of property as amounts to a civil injury, which may be redressed by a civil action;" and that this "doctrine is the rule at common law, and is supported by a large number of decisions from other states."
The holding in the latter case disposes of the question presented in the case at bar; the trial court was wrong in determining that the owner of a domesticated cat does not have a property right therein which is protected in this state by civil remedies.
The judgment of the municipal court is therefore reversed, and the cause remanded for trial.
Judgment reversed and cause remanded.
WASHBURN, P.J., FUNK and PARDEE, JJ., concur. *Page 185 